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UNITED STATES DISTRICT COURT
FOR THE DISTRICT COURT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA, §
Plaintiff §

v. ) CASE NO. l9crlOO78-]-RWZ
William Ricl< Singer, §
Defendant. §
)

 

AMENDED ASSENTEI) MOTION TO MODIFY THE STATES TO WHICH
THE DEFENDANT MAY TRAVEL BY ADDING THE STATE OF MISSOURI
Pursuant to this Court’s Order Setting Conditions of Release ofMarch 12, 2019, the
defendant is restrict in travel to the states of Massachusetts, Califomia and Florida. [Doc. 20, p.
2, Par.(?)(f). The defendant_;§on currently residing and attending college in the Eastern District of W
l\/Iissouri and will continue his graduate education in the same college in pursuit of a Master of
Arts degree and hopes to visit with his son a fairly regular basis. The defendant would propose
that conditions of travel be modified by adding the Eastern District of Missouri to the permitted
travel states above mentioned All travel by the defendant outside of his current place of
residence shall be subject to approval of them&h@ Pretrial Services Officerilac Supervising _
defendant at the time of the defendant’s proposed travel, so as not to burden the Court, @// 2
government counsel and defense counsel with filing motion(s) to]tMy]ngil'travel
authorization(s). The Senior U.S. Probation Officer assigned defendant’s case for the District of
Massachusetts assents to this motion as does Assistant U.S. Attomey Eric Rosen.
WHEREFORE, the undersigned counsel respectfully moves that this motion be granted

so as to enable the defendant to travel to and from the Eastern District of Missouri by

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adding the Eastern District of Missouri to the listed permitted travel states, subject to the
defendant obtaining approval for said travel from the U.S. Pretrial Services Offlcer
currently supervising defendant at the time of the defendant’s proposed travel,

Respectfully submitted,

/s/ Donald H. Heller

Donald H. Heller, Esquire

Donald H. I-leller, A Law Corporation

Attorney for Defendant
Williarn Rick Singer

Approved.

Dated:érl Z§/¢/§ f '
Unite States District Judge

CERTIFICATE OF SERVICE

 

 

l, Donald H. Heller, hereby certify that on April 21, 2019, this document, file through the
CM/ECF system, will be sent electronically to all registered participants in this matter as
identified on the Notice of Electronic Filing (NEF).

A copy of this Document will be sent by electronic mail to:

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Freeman Mathis & Gary, LLP
60 State Street

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